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                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF KENTUCKY
                                       LONDON DIVISION

IN RE:                                                                  Case No. 19-61608-grs

AMERICORE HOLDINGS, LLC, et al.,1                                       Chapter 11

                                                                        Jointly Administered
      Debtors.
________________________________________/


                   NOTICE OF RULE 2004 EXAMINATION DUCES TECUM
                              (Document Production Only)


         PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors

(“Committee”), through its undersigned attorneys, requests that Bridge Funding, Inc., c/o Mr.

Lawrence Linksman, President, 545 Fifth Avenue, Suite 403, New York, NY 10017 produce or

deliver on or before Friday, May 15, 2020 at 5:00 p.m. or such other date and time as may be

agreed upon, to the office of Nelson Mullins Riley & Scarborough LLP, Attention Pam Wilson,

Paralegal, 100 Southeast Third Avenue, One Financial Plaza, Suite 2700, Fort Lauderdale, Florida

33394, all of the documents as detailed in the Subpoena for Rule 2004 Examination attached

hereto.2

         The request for production of documents is pursuant to Federal Rules of Bankruptcy

Procedure and that certain Order Granting the Debtor and the Official Committee of Unsecured


1
  The Debtors in these Chapter 11 cases are (with the last four digits of their federal tax identification numbers in
parentheses): Americore Holdings, LLC (0115); Americore Health, LLC (6554); Americore Health Enterprises, LLC
(3887); Ellwood Medical Center, LLC (1900); Ellwood Medical Center Real Estate, LLC (8799); Ellwood Medical
Center Operations, LLC (5283); Pineville Medical Center, LLC (9435); Izard County Medical Center, LLC (3388);
Success Healthcare 2, LLC (8861); St. Alexius Properties, LLC (4610); and St. Alexius Hospital Corporation # 1
(2766).
2
  Please contact us to arrange for the electronic delivery of the requested documents or to obtain our Federal Express
billing number for delivery of hard copies of the requested documents. Alternatively, we can provide you with a
delivery point within 100 miles of the deponent’s residence or place of employment. To make the foregoing
arrangements, please email Pam Wilson at pam.wilson@nelsonmullins.com.
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Creditor’s Joint Motion for Order Establishing Procedures to Conduct Rule 2004 Examinations

[Doc. No. 259] (the “Procedures Order”). The scope of the request is as described in Bankruptcy

Rule 2004. Pursuant to the Procedures Order, no further order shall be necessary.

       The Committee has discussed issuance of the Subpoena referenced herein with the Trustee

and the Trustee is in agreement with the Committee on the issuance of the subpoena and the

documents sought. The Committee will share any documents it receives with the Trustee.

DATED: April 21, 2020                              Nelson Mullins Riley & Scarborough LLP
                                                   Counsel for the Committee

                                                   Two South Biscayne Boulevard
                                                   One Biscayne Tower, 21st Floor
                                                   Miami, FL 33131
                                                   Ph. 305-373-9400 | Fax 305-995-6416

                                                   100 S.E. 3rd Avenue, Suite 2700
                                                   Fort Lauderdale, FL 33394
                                                   Ph. 954-764-7060 | Fax 954-761-8135

                                                   By: /s/ Frank P. Terzo
                                                     Frank P. Terzo
                                                     Florida Bar No. 906263
                                                     Frank.Terzo@nelsonmullins.com
                                                     Gary M. Freedman
                                                     Florida Bar No. 727260
                                                     Gary.Freedman@nelsonmullins.com


                                                     -and-

                                                     By: /s/ Adam R. Kegley_____________
                                                       Adam R. Kegley
                                                        Frost Brown Todd LLC
                                                        250 West Main Street, Suite 2800
                                                        Lexington, Kentucky 40507
                                                        Tel: (859) 231-0000
                                                        Fax: (859) 231-0011
                                                        akegley@fbtlaw.com

                                                     Counsel for the Committee
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served on April
21, 2020, by electronic transmission through the Court’s CM/ECF system upon all Filing Users
accepting Notice of Electronic Filing and via email to Trustee Carol L. Fox at
cfox@glassratner.com and egreen@bakerlaw.com and upon the Examinee, Bridge Funding, Inc.,
c/o Mr. Lawrence Linksman, President, 545 Fifth Avenue, Suite 403, New York, NY 10017 via
U.S. mail and certified mail (return receipt requested).



                                                  /s/ Frank Terzo
                                                  Frank Terzo




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                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF KENTUCKY
                                      LONDON DIVISION

IN RE:                                                                  Case No. 19-61608-grs

AMERICORE HOLDINGS, LLC, et al.,1                                       Chapter 11

                                                                        Jointly Administered
     Debtors.
________________________________________/

               SUBPOENA FOR RULE 2004 EXAMINATION DUCES TECUM


    TO: Bridge Funding, Inc
        c/o Mr. Lawrence Linksman, President
        545 Fifth Avenue, Suite 403
        New York, NY 10017

[ ] Testimony: YOU ARE COMMANDED to appear at the time, date and place set forth
below to testify at an examination under Rule 2004, Federal Rules of Bankruptcy Procedure.
PLACE                                                           DATE AND TIME
Nelson Mullins Riley & Scarborough LLP
100 SE 3rd Avenue                                               Friday, May 15, 2020 at 5:00 p.m.
One Financial Plaza, Suite 2700
Fort Lauderdale, FL 33394
Attention Pam Wilson, Paralegal


[X] Production:

You, or your representatives, must produce the following documents, electronically stored
information, or objects, and must permit inspection, copying, testing, or sampling of the
material by Friday, May 15, 2020 at 5:00 p.m. at Nelson Mullins Riley & Scarborough
LLP, One Financial Plaza, 100 SE 3rd Avenue, Suite 2700, Ft. Lauderdale, FL 33394, 954-
764-7060, Attention Pam Wilson, Paralegal2


1 The Debtors in these Chapter 11 cases are (with the last four digits of their federal tax identification
numbers in parentheses): Americore Holdings, LLC (0115); Americore Health, LLC (6554); Americore
Health Enterprises, LLC (3887); Ellwood Medical Center, LLC (1900); Ellwood Medical Center Real Estate,
LLC (8799); Ellwood Medical Center Operations, LLC (5283); Pineville Medical Center, LLC (9435); Izard
County Medical Center, LLC (3388); Success Healthcare 2, LLC (8861); St. Alexius Properties, LLC (4610);
and St. Alexius Hospital Corporation # 1 (2766).
2
  Please contact us to arrange for the electronic delivery of the requested documents or to obtain our Federal Express
billing number for delivery of hard copies of the requested documents. Alternatively, we can provide you with a
delivery point within 100 miles of the deponent’s residence or place of employment. To make the foregoing
arrangements, please email Pam Wilson at pam.wilson@nelsonmullins.com.
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                                 SEE ATTACHED SCHEDULE “A”


         The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R.
Bankr. P. 9016, are attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your
protection as a person subject to a subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to
this subpoena and the potential consequences of not doing so.

Date:   April 21, 2020

          Clerk of Court                         OR               Frank P. Terzo
                                                                  Florida Bar No. 906263
                                                                  Gary M. Freedman
                                                                  Florida Bar No. 727260

        _____________________________                     ____________________________________
          Signature of Clerk or Deputy Clerk                    Attorney’s Signature



The name, address, email address, and telephone number of the attorney representing the Official
Committee of Unsecured Creditors, who issues or requests this subpoena, is either: Frank P. Terzo.,
Nelson Mullins Riley & Scarborough LLP, 100 S.E. 3rd Avenue, One Financial Plaza, Suite 2700, Fort
Lauderdale, Florida, (954-764-7060; frank.terzo@nelsonmullins.com); Gary M. Freedman, Nelson
Mullins Riley & Scarborough LLP, One Biscayne Tower, 21st Floor, Miami, FL 33131 (305-373-9400;
gary.freedman@nelsonmullins.com) .



                  Notice to the person who issues or requests this subpoena

If this subpoena commands the production of documents, electronically stored information, or
tangible things, or the inspection of premises before trial, a notice and a copy of this subpoena
must be served on each party before it is served on the person to whom it is directed. Fed. R.
Civ. P. 45(a)(4).




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                                  PROOF OF SERVICE

 (This section should not be filed with the court unless required by Fed. R. Civ. P.
                                         45.)

I received this subpoena for (name of individual and title, if any):
________________________ on (date) __________ .

[ X ] I served the subpoena by delivery a copy to the named person as follows:

Bridge Funding, Inc., c/o Mr. Lawrence Linksman, President, 545 Fifth Avenue, Suite 403,
New York, NY 10017 via U.S. mail and certified mail, return receipt requested and to Bridge
Funding, Inc., c/o Mr. Lawrence Linksman, President, Three Woolen Court, North Salem, NY
10560 via U.S. mail and certified mail


[ ] I returned the Subpoena unexecuted because:
______________________________________________________________________

        Unless the Subpoena was issued on behalf of the United States, or one of its
officers or agents, I have also tendered to the witness the fees for one day’s attendance,
and the mileage allowed by law, in the amount of $ _______________________ .

My fees are $ _________ for travel and $_________ for services, for a total of
$_________


I declare under penalty of perjury that this information is true and correct.


Date: April 21, 2020                              ________________________________
                                                  Frank P. Terzo
                                                  Florida Bar No. 906263
                                                  Frank.Terzo@nelsonmullins.com
                                                  Nelson Mullins Broad and Cassel
                                                  100 S.E. 3rd Avenue, Suite 2700
                                                  Fort Lauderdale, FL 33394
                                                  Ph. 954-764-7060 | Fax 954-761-8135




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                          Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective
                                                      12/1/13)
                       (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy
                                                        Procedure)

(c) Place of compliance.                                                   matter, if no exception or waiver applies; or
                                                                                (iv) subjects a person to undue burden.
  (1) For a Trial, Hearing, or Deposition. A subpoena may                     (B) When Permitted. To protect a person subject to or affected
command a person to attend a trial, hearing, or deposition                 by a subpoena, the court for the district where compliance is
only as follows:                                                           required may, on motion, quash or modify the subpoena if it
    (A) within 100 miles of where the person resides, is                   requires:
employed, or regularly transacts business in person; or
    (B) within the state where the person resides, is employed, or                       (i)   disclosing a trade secret or other confidential
regularly transacts business in person, if the person                    research, development, or commercial information; or
      (i) is a party or a party’s officer; or                                     (ii) disclosing an unretained expert's opinion or
      (ii) is commanded to attend a trial and would not incur            information that does not describe specific occurrences in
substantial expense.                                                     dispute and results from the expert's study that was not
                                                                         requested by a party.
 (2) For Other Discovery. A subpoena may command:                               (C) Specifying Conditions as an Alternative. In the
   (A) production of documents, or electronically stored                    circumstances described in Rule 45(d)(3)(B), the court
information, or things at a place within 100 miles of where the             may, instead of quashing or modifying a subpoena, order
person resides, is employed, or regularly transacts business in             appearance or production under specified conditions if the
person; and                                                                 serving party:
    (B) inspection of premises, at the premises to be inspected.                   (i) shows a substantial need for the testimony or material
(d) Protecting a Person Subject to a Subpoena;                              that cannot be otherwise met without undue hardship; and
   Enforcement.                                                                    (ii) ensures that the subpoenaed person will be
                                                                            reasonably compensated.
     (1) Avoiding Undue Burden or Expense; Sanctions. A                     (e) Duties in Responding to a Subpoena.
party or attorney responsible for issuing and serving a                       (1) Producing Documents or Electronically Stored
subpoena must take reasonable steps to avoid imposing                       Information. These procedures apply to producing
undue burden or expense on a person subject to the                          documents or electronically stored information:
subpoena. The court for the district where compliance is                        (A) Documents. A person responding to a subpoena to
required must enforce this duty and impose an appropriate                   produce documents must produce them as they are kept in the
sanction — which may include lost earnings and reasonable                   ordinary course of business or must organize and label them
attorney's fees — on a party or attorney who fails to comply.               to correspond to the categories in the demand.
 (2) Command to Produce Materials or Permit Inspection.                         (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to                       Specified. If a subpoena does not specify a form for producing
produce documents, electronically stored information, or                    electronically stored information, the person responding must
tangible things, or to permit the inspection of premises, need not          produce it in a form or forms in which it is ordinarily maintained
appear in person at the place of production or inspection unless            or in a reasonably usable form or forms.
also commanded to appear for a deposition, hearing, or trial.                   (C) Electronically Stored Information Produced in Only One
    (B) Objections. A person commanded to produce documents                 Form. The person responding need not produce the same
or tangible things or to permit inspection may serve on the party           electronically stored information in more than one form.
or attorney designated in the subpoena a written objection to                   (D) Inaccessible Electronically Stored Information. The
inspecting, copying, testing or sampling any or all of the                  person responding need not provide discovery of electronically
materials or to inspecting the premises — or to producing                   stored information from sources that the person identifies as
electronically stored information in the form or forms requested.           not reasonably accessible because of undue burden or cost.
The objection must be served before the earlier of the time                 On motion to compel discovery or for a protective order, the
specified for compliance or 14 days after the subpoena is                   person responding must show that the information is not
served. If an objection is made, the following rules apply:                 reasonably accessible because of undue burden or cost. If that
      (i) At any time, on notice to the commanded person, the               showing is made, the court may nonetheless order discovery
serving party may move the court for the district where                     from such sources if the requesting party shows good cause,
compliance is required for an order compelling production or                considering the limitations of Rule 26(b)(2)(C). The court may
inspection.                                                                 specify conditions for the discovery.
      (ii) These acts may be required only as directed in the                 (2) Claiming Privilege or Protection.
order, and the order must protect a person who is neither a                     (A) Information Withheld. A person withholding
party nor a party's officer from significant expense resulting              subpoenaed information under a claim that it is privileged or
from compliance.                                                            subject to protection as trial-preparation material must:
                                                                                  (i) expressly make the claim; and
 (3) Quashing or Modifying a Subpoena.                                            (ii) describe the nature of the withheld documents,
   (A) When Required. On timely motion, the court for the                   communications, or tangible things in a manner that, without
district where compliance is required must quash or modify a                revealing information itself privileged or protected, will enable
subpoena that:                                                              the parties to assess the claim.
      (i) fails to allow a reasonable time to comply;                           (B) Information Produced. If information produced in
      (ii) requires a person to comply beyond the                           response to a subpoena is subject to a claim of privilege or of
geographical limits specified in Rule 45(c);                                protection as trial- preparation material, the person making the
      (iii) requires disclosure of privileged or other protected            claim may notify any party that received the information of the
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claim and the basis for it. After being notified, a party must
promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose
the information until the claim is resolved; must take
reasonable steps to retrieve the information if the party
disclosed it before being notified; and may promptly
present the information under seal to the court for the
district where compliance is required for a determination of
the claim. The person who produced the information must
preserve the information until the claim is resolved.
…
(g) Contempt. The court for the district where compliance
is required – and also, after a motion is transferred, the
issuing court – may hold in contempt a person who, having
been served, fails without adequate excuse to obey the
subpoena or an order related to it.




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                          SCHEDULE “A”




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                            DEFINITIONS AND INSTRUCTIONS

        As used in this request, the following words shall have their common meanings
 and shall include the meanings indicated:

       A.       “Affiliate” includes (a) any entity whose outstanding interests are directly
or indirectly owned, controlled, or held by you or by an entity that directly or indirectly
owns, controls, or holds the interests of you, (b) any entity that directly or indirectly owns,
controls, or holds the interests of you, (c) any entity whose business or substantially all of
whose property is operated under a lease or operating agreement by you that operates
the business or substantially all of the property of you under a lease or operating
agreement, (d) any entity that directly or indirectly controls, is controlled by, or is under
common control with another entity, (e) any entity that either directs or causes the
direction of management or policies or you, indirectly or directly, (f) any entity that you
direct or cause the direction of management or policies, indirectly or directly, (g) an entity
related to you by a familial relationship, (h) parents, or (i) subsidiaries
       B.      “Entity” includes an individual, corporation (including a limited liability
corporation), partnership (including a general partnership, limited liability partnership, and
a limited partnership), estate, or trust.
       C.      “Request” or “Requests” means the Document Requests listed below.
       D.       “Debtors” means Americore Holdings, LLC (0115); Americore Health,
LLC (6554); Americore Health Enterprises, LLC (3887); Ellwood Medical Center, LLC
(1900); Ellwood Medical Center Real Estate, LLC (8799); Ellwood Medical Center
Operations, LLC (5283); Pineville Medical Center, LLC (9435); Izard County Medical
Center, LLC (3388); Success Healthcare 2, LLC (8861); St. Alexius Properties, LLC
(4610); and St. Alexius Hospital Corporation # 1 (2766), the Debtors in the above-
referenced chapter 11 bankruptcy case and shall include shall include their owners,
officers,   directors,   shareholders,      managers,   members,     employees,     agents,
representatives, attorneys, accountants, affiliates, subsidiaries, predecessors,
successors and/or assigns, and their owners, officers, directors, shareholders,
managers, members, employees, agents, representatives, attorneys, accountants,
affiliates, subsidiaries, predecessors, successors and/or assigns.

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        E.       “You” and “Your” means and includes and acting in any capacity on behalf
of Bridge Funding, Inc. and any and all of your agents, employees, attorneys, and any
other person or entity acting or purporting to act on behalf of you or your affiliates.
        F.       “Lewitt” means Michael Lewitt, Third Friday Total Return Fund, L.P. or Third
Friday GP, LLC, Amer Rustom, and Salim Halim and any and all of their agents,
employees, attorneys, and any other person or entity acting or purporting to act on their
behalf or their affiliates.
        G.       “White” means Grant White.
        H.       “Pritchard” means Thomas Jeffrey Pritchard.
        I.       “Promise” means Promise Healthcare Group, LLC and the other Debtors
the Jointly Administered Case No. 18-12491 (CSS), pending in the United States
Bankruptcy Court for the District of Delaware (the “Promise Bankruptcy Case”) and
otherwise identified in footnote 1 of the pleadings filed in Promise Bankruptcy Case,
excluding Success Healthcare 2, LLC (“Success”), St. Alexius Corporation #1 and St.
Alexius Properties, LLC (collectively, St. Alexius”) and any and all of its agents,
employees, attorneys, and any other person or entity acting or purporting to act on behalf
of it or its affiliates.
        J.       “Trustee” shall mean Carol L. Fox, Trustee for the Chapter 11 bankruptcy
case of the Debtors, Americore Holdings, LLC et al.
        K.        “Documents” shall mean the original or copies of any tangible written,
typed, printed or other form of recorded or graphic matter of every kind or description,
however produced or reproduced, whether mechanically or electronically recorded or
stored, draft, final original, reproduction, signed or unsigned, regardless of whether
approved, signed, sent, received, redrafted, or executed, and whether handwritten,
typed, printed, photostated, duplicated, carbon or otherwise copied or produced in any
other manner whatsoever. Without limiting the generality of the foregoing, “Documents”
shall include correspondence (including e-mail, electronic message, letters, telegrams,
telexes, and mailgrams), communications, memoranda (including inter-office and intra-
office memoranda, memoranda for files, memoranda of telephone or other
conversations, including meetings, invoices, reports, receipts and statements of
account, ledgers, notes or notations), notes or memorandum attached to or to be read


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with any Document, booklets, books, drawings, graphs, charts, photographs, phone
records, electronic tapes, discs or other recordings, computer programs, printouts, data
cards, studies, analysis and other data compilations from which information can be
obtained. Copies of Documents, which are not identical duplications of the originals or
that contain additions to or deletions from the originals or copies of the originals if the
originals are not available, shall be considered to be separate documents.

       L.     “Documents” shall also include all electronically stored information
(hereinafter “ESI”) including but not limited to computer generated information or data of
any kind, stored in or on any storage media located on computers, file servers, disks,
tape or other real or virtualized devices or media, including Digital Communications (e.g.,
e-mail, voice mail, instant messaging, chats, tweets, blog posts, social media posts,
comments, etc.), E-Mail Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange
.EDB), Word Processed Documents (e.g., Word or WordPerfect files and drafts),
Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets), Accounting Application
Data (e.g., QuickBooks, Money, Peachtree data), Image and Facsimile Files (e.g., .PDF,
.TIFF, .JPG, .GIF images), Sound Recordings (e.g., .WAV and .MP3 files), Video and
Animation (e.g., .AVI and .MOV files), Databases (e.g., Access, Oracle, SQL Server data,
SAP, other), Contact and Relationship Management Data (e.g., Outlook, ACT!),
Calendar and Diary Application Data (e.g., Outlook PST, blog entries), Online Access
Data (e.g., Temporary Internet Files, History, Cookies), Presentations (e.g., PowerPoint,
Corel Presentations), Network Access and Server Activity Logs, Project Management
Application Data, Computer Aided Design/Drawing Files; and Backup and Archival Files
(e.g., Veritas, Zip, .GHO). Your search for ESI shall include all of computer hard drives,
floppy discs, compact discs, backup and archival tapes, removable media such as zip
drives, password protected and encrypted files, databases, electronic calendars,
personal digital assistants, mobile devices, smart phones, tablets, proprietary software
and inactive or unused computer disc storage areas. The meaning of “Documents” shall
be construed as broadly as permitted by the Federal Rules of Civil Procedure, but is not
intended and shall not be interpreted to expand upon or enlarge the responding party’s
obligations beyond that required by the Federal Rules of Civil Procedure.

       M.     “Concerning” shall mean, directly or indirectly, concerning, regarding,

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relating to, referring to, reflecting, mentioning, describing, pertaining to, and/or arising out
of or in connection with or in any way legally, logically, or factually being connected with
the matter discussed.

       N.     As used herein, the conjunctions “and” and “or” shall be interpreted in
each instance as meaning “and/or” so as to encompass the broader of the two possible
constructions, and shall not be interpreted disjunctively so as to exclude any
information or documents otherwise within the scope of any Request.

       O.     When appropriate, the singular form of a word should be interpreted in
the plural as may be necessary to bring within the scope hereof any documents which
might otherwise be construed to be outside the scope hereof.

       P.     Any pronouns used herein shall include and be read and applied as to
encompass the alternative forms of the pronoun, whether masculine, feminine, neuter,
singular or plural, and shall not be interpreted so as to exclude any information or
documents otherwise within the scope of the Request.

       Q.     If You assert that any document called for by a request is protected
against disclosure on the grounds of the attorney work product doctrine or by the
attorney-client privilege, or any other assertion of privilege, You must provide the
following information with respect to such document:
              1. the name and capacity of the person or persons who prepared the
       documents;
              2. the name and capacity of all addresses or recipients of the original or
       copies thereof;
              3. the date, if any, borne by the document;
              4. a brief description of its subject matter and physical size;
              5. the source of the factual information from which such document was
       prepared; and
              6. the nature of the privilege claimed.
       R.     You must produce all documents within your possession, care, custody
or control that are responsive to any of these requests. A document is deemed within
your care, custody or control if you have the right or ability to secure the document or


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a copy thereof from any other person having physical possession thereof.

       S.     All documents produced pursuant hereto are to be produced as they are
kept in the usual course of business and shall be organized and labeled (without
permanently marking the item produced) so as to correspond with the categories of
each numbered request hereof.

       T.     Production    of   electronically    stored   information    (“ESI”)   or   any
electronically stored data shall be in native format or another electronic format that
does not diminish the accessibility or searchability of the information.

       U.    Each hard copy document is to be produced, with all non-identical copies
and drafts thereof, in its entirety, without alteration, abbreviation or reduction and shall
be produced either in the manner they are kept in the usual course of business or
organized to correspond with the Request to which they are responsive. If any
document is produced in redacted form, state with particularity the reason(s) it was not
produced in full and describe generally those portions of the Document that are not
being produced

       V.    All documents that respond, in whole or in part, to any part or clause of
any paragraph of these requests shall be produced in their entirety, including all
attachments and enclosures. Only one copy need be produced of documents that are
responsive to more than one paragraph or are identical except for the person to whom
it is addressed if you indicate the entities to whom such documents were distributed.
Documents that in their original condition were stapled, clipped, or otherwise fastened
together shall be produced in such form. Please place the documents called for by
each paragraph in a separate file folder or other enclosure marked with respondents’
name and the paragraph to which such documents respond, and if any document is
responsive to more than one request, indicate each request to which it responds.

       W.    If you at any time had possession, custody or control of a document called
for under these requests and if such document has been lost, destroyed, purged, or is
not presently in Your possession, custody or control, You shall describe the document,
the date of its loss, destruction, purge, or separation from possession, custody or
control and the circumstances surrounding its loss, destruction, purge, or separation

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from possession, custody or control.

      X.     Unless stated otherwise, the time period for the request is from January 1,
2017 to the present.




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                                       DOCUMENTS REQUESTED


          1.         All documents evidencing, showing, reflecting or relating to Your
relationship with the Debtors, White, Pritchard and/or Lewitt.
          2.         All documents evidencing, showing, reflecting or relating to any
compensation You received directly or indirectly from Debtors, White, Pritchard and/or
Lewitt.
          3.         All documents evidencing, showing, reflecting or relating to all loans or
investments between You, Debtors, White, Pritchard and/or Lewitt.
          4.         All documents evidencing, showing, reflecting or relating to the repayment
of all loans or investments between You, Debtors, White, Pritchard and/or Lewitt.
          5.         All documents evidencing, showing, reflecting or relating to the services You
provided in exchange for compensation you received directly or indirectly, including fees
and commissions, from any of the Debtors or any individuals or entities acting as an
employee, independent contractor, marketer or promoter of any of the Debtors.
          6.         All documents evidencing, showing, reflecting or relating to the services You
provided in exchange for compensation You received directly or indirectly, including fees
and commissions, from any of the Debtors or any individuals or entities acting as an
employee, independent contractor, marketer or promoter of any of the Debtors.
          7.         All documents evidencing, showing, reflecting or relating to any agreement,
contract, or relationship of any kind between You, any of the Debtors, White and/or Lewitt.
          8.             All documents evidencing showing or reflecting or relating to a binding or
non-binding promise to fund, letter of intent, commitment letter or any sort of agreement
in connection with the sale of Success Healthcare 2, LLC, St. Alexius Properties, LLC, St.
Alexius Hospital Corporation #1, Inc by Promise to the Debtors.




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